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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



PERKINS COIE LLP,

                           Plaintiff,

       v.

U.S. DEPARTMENT OF JUSTICE,
FEDERAL COMMUNICATIONS
COMMISSION, OFFICE OF
MANAGEMENT AND BUDGET,                                  NO. 1:25-cv-00716-BAH
EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION,
OFFICE OF PERSONNEL
MANAGEMENT, GENERAL
SERVICES ADMINISTRATION,
OFFICE OF THE DIRECTOR OF
NATIONAL INTELLIGENCE, THE
UNITED STATES OF AMERICA, and in
their official capacities, PAMELA J.
BONDI, BRENDAN CARR, RUSSELL
T. VOUGHT, ANDREA R. LUCAS,
CHARLES EZELL, STEPHEN
EHEKIAN, and TULSI GABBARD,

                           Defendants.


 UNOPPOSED MOTION FOR LEAVE TO FILE BRIEF OF AMICI CURIAE 363 LAW
     PROFESSORS IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY
 JUDGMENT AND FOR DECLARATORY AND PERMANENT INJUNCTIVE RELIEF

       Amici curiae professors of law respectfully move for leave to file the attached proposed

brief in support of Plaintiff Perkins Coie’s motion for Summary Judgment and for Declaratory and

Permanent Injunctive Relief in the above-captioned case. Counsel for Plaintiff and the Government

have consented to the filing of amici’s brief. In support of this motion, amici state:

       Amici are 363 law professors who study, write, and teach at law schools throughout the
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United States.1 They are experts in constitutional law, legal ethics, and the history of the legal

profession, among other fields. Amici have a significant interest in ensuring that the principles of

free speech, freedom of association, the right to petition the government, and the right to counsel

are upheld. They also have a strong interest in upholding the rule of law and the ethics of the legal

profession as legal educators who are responsible for training the next generation of lawyers. Amici

submit their brief to emphasize the threat that the President’s Executive Order (the “Order”)2

presents to the independence and integrity of the legal profession, the rights of clients to seek

redress in the courts, and, by extension, the rule of law.

       This Court has “wide discretion in deciding whether to grant a third party leave to file an

amicus curiae brief.” In re Search of Info. Associated with [redacted]@mac.com that is Stored at

Premises Controlled by Apple, 13 F. Supp. 3d 157, 167 (D.D.C. 2014); Nat’l Ass’n of Home

Builders v. U.S. Army Corps of Eng’rs, 519 F. Supp. 2d 89, 93 (D.D.C. 2007) (same). This Court

has previously exercised its “broad discretion” to allow amicus participation by amici with

“relevant expertise and a stated concern for the issues at stake” where the Court found that “it may

benefit from their input” in deciding the case. District of Columbia v. Potomac Elec. Power Co.,

826 F. Supp. 2d 227, 237 (D.D.C. 2011); see also, Nat’l Ass’n of Home Builders, 519 F. Supp. 2d

at 93 (granting leave to file because “the court may benefit from [amicus] input”). An amicus

“‘participates only for the benefit of the Court,’” Jin v. Ministry of State Sec., 557 F. Supp. 2d 131,




1
 A full list of amici is provided in Appendix A. Amici’s institutional affiliations are provided for
purposes of identification only and do not reflect the views of the listed institutions.
2
  Throughout this motion, “Executive Order” or “Order” refers to Executive Order. No. 14230,
codified at 90 Fed. Reg. 11,781 (Mar. 6, 2025), titled “Addressing Risks from Perkins Coie LLP,”
as well as the accompanying Fact Sheet titled “Fact Sheet: President Donald J. Trump Addresses
Risks from Perkins Coie LLP” of the same date.


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136 (D.D.C. 2008) (quoting United States v. Microsoft Corp., 2002 WL 319366, at *2 (D.D.C.

2002)). Amicus participation “should be permitted if it will assist the judge ‘by presenting ideas,

arguments, theories, insights, facts or data that are not to be found in the parties’ briefs.’” Mashpee

Wampanoag Tribe, 2020 WL 2615523 at *1 (D.D.C. May 22, 2020) (quoting Voices for Choices

v. Ill. Bell Tel. Co., 339 F.3d 542, 545 (7th Cir. 2003)); see also In re Search of Info., 13 F. Supp.

3d at 167 (D.D.C. 2014) (same).

       Local Civ. Rule 7(o)(2) requires potential amici to set forth the reasons why an amicus

brief “is desirable, why the movant’s position is not adequately represented by a party, and why

the matters asserted are relevant to the disposition of the case.” D.D.C. LR 7(o)(2). It directs that

motions for leave to file must be filed “in a timely manner such that it does not unduly delay the

Court’s ability to rule on any pending matter.” D.D.C. LR 7(o)(2). The proposed amicus brief

satisfies these standards and the requirements.

       The brief is relevant to the disposition of this case: The proposed brief directly addresses

the key issues that are raised in this litigation and that are relevant to its disposition. The brief

details how the Order violates the First Amendment, including because the Order singles out

Perkins Coie and discriminates against it on the basis of its clients’ viewpoints, because it

unconstitutionally controls the speech and associational freedoms of lawyers engaged in legal

work against the government, because it imposes unconstitutional conditions on the firm’s access

to government funding and property, and because it violates the Petition Clause. The brief then

analyzes the Order’s violation of the Fifth and Sixth Amendments, explaining that it interferes

with clients’ access to counsel and their right to select a lawyer free of government intervention

and conflicting loyalties. It traces the historical origins of the American right to counsel of choice

and explains how that right would be undermined if the Executive branch of the government could




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control who represents—and who doesn’t represent—its adversaries in court. Finally, the brief

highlights why the harm from the Order goes beyond the specific constitutional violations

described and poses a broader threat to legal profession and the rule of law.

        The brief is desirable and provides amici’s unique perspectives and input that will

benefit the Court: Amici write from the perspective of expert legal scholars and educators

specializing in constitutional law, legal ethics, the history of the legal profession, among other

fields. Grounded in amici’s substantial expertise, the proposed brief offers a scholarly analysis of

the myriad ways in which the Order violates the Constitution. And, as amici include scholars of

the legal profession, amici provide a comprehensive evaluation of the grave threat that the Order

poses to lawyers and law firms across the nation. Indeed, while Plaintiff Perkins Coie’s primary

interest is likely in protecting its own interest and those of its clients, amici’s brief will assist the

Court by highlighting the need to safeguard the right of all clients to secure the counsel of their

choice, and the right of all lawyers and law firms to represent their clients free from unlawful

governmental interference.

        Amici’s scholarly viewpoint provides unique insights into the threat the Order poses to the

integrity of the judicial process and the serious harm that will result if the President is permitted to

continue to threaten and punish lawyers for zealously representing their clients in court.

Ultimately, amici offer a beneficial and unique perspective into the manner by which the Order

will compromise the American legal system and undermine the rule of law.

        The proposed brief is timely. It is being submitted with this motion less than one day after

Plaintiff’s opening brief that it supports. This timing will not affect the Defendants’ ability to

respond to or the Court’s ability to timely rule on the Plaintiff’s motion.

        For the foregoing reasons, amici respectfully request that the Court grant leave to file the



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attached amicus curiae brief.

       A proposed order is attached to this motion.

Dated: April 2nd, 2025                      Respectfully submitted,

                                            /s/ Phillip R. Malone
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                                            559 Nathan Abbott Way
                                            Stanford, CA 94305
                                            Telephone: (650) 725-6369
                                            Fax: (650)-723-4426

                                               Counsel for Amici Curiae




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on April 2nd, 2025, I electronically filed the original of this Motion, its

accompanying appendix, and its attached proposed brief with the Clerk of the Court using the CM/ECF

system. Notice of this filing will be sent to all attorneys of record by operation of the Court’s

electronic filing system.

       DATED this 2nd day of April 2025.

                                              /s/ Phillip R. Malone
                                                  Phillip R. Malone




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                                         APPENDIX A

                      LIST OF AMICI CURIAE LAW PROFESSORS

 Institutional affiliations are provided for purposes of identification only and do not reflect the
                                   views of the listed institutions.

Richard L. Abel                                      Mark Bartholomew
Connell Distinguished Professor of Law               Professor of Law
Emeritus and Distinguished Research                  University at Buffalo School of Law
Professor
UCLA School of Law                                   Benjamin Barton
                                                     Helen and Charles Lockett Distinguished
Kathryn Abrams                                       Professor of Law
Herma Hill Kay Distinguished Professor of            The University of Tennessee College of Law
Law
University of California, Berkeley Law               Derek Bambauer
School                                               Irving Cypen Professor of Law
                                                     University of Florida Levin College of Law
Jamie R. Abrams
Professor of Law                                     Loftus Becker
American University Washington College of            Professor of Law Emeritus
Law                                                  University of Connecticut School of Law

Jessie Allen                                         Lenni B. Benson
Professor of Law                                     Professor of Law
University of Pittsburgh School of Law               New York Law School

Jonathan Askin                                       C. Elizabeth Belmont
Professor of Clinical Law                            Clinical Professor of Law and Director of
Brooklyn Law School                                  Experiential Education
                                                     Washington & Lee University School of
Emad H. Atiq                                         Law
Professor of Law and Philosophy
Cornell Law School                                   Eric Berger
                                                     Earl Dunlap Distinguished Professor of Law
Rebecca Aviel                                        University of Nebraska College of Law
Professor of Law
University of Denver Sturm College of Law            Vivian Berger
                                                     Nash Professor of Law Emerita
Ann Schofield Baker                                  Columbia Law School
Professor of Law from Practice
New York Law School                                  Emily Berman
                                                     William B. Bates Distinguished Chair in
Carlos A. Ball                                       Law
Distinguished Professor of Law                       University of Houston Law Center
Rutgers Law School
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Elizabeth Earle Beske                          Ben Bratman
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American University Washington College of
Law                                            Cheryl Bratt
                                               Associate Professor of the Practice
Brian H. Bix                                   Boston College Law School
Frederick W. Thomas Professor of Law and
Philosophy                                     Robert Brauneis
University of Minnesota Law School             Michael J. McKeon Professor of Intellectual
                                               Property Law
Susanna Blumenthal                             The George Washington University Law
William L. Prosser Professor of Law and        School
Professor of History
University of Minnesota Law School             Paul Brest
                                               Professor Emeritus
Carl T. Bogus                                  Stanford Law School
Professor of Law Emeritus
Roger Williams University School of Law        Lea Brilmayer
                                               Howard M. Holtzmann Professor Emeritus
Meghan Boone                                   of Law
Professor of Law                               Yale Law School
Wake Forest University School of Law
                                               Juliet M. Brodie
Jennifer Borg                                  Professor of Law
Clinical Lecturer & Senior Research Scholar    Stanford Law School
Yale Law School-Media Freedom and
Information Access Law Clinic                  Mark Brodin
                                               Professor
Vincent Martin Bonventre                       Boston College Law School
Justice Robert H. Jackson Distinguished
Professor of Law                               Mark R. Brown
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                                               & Professor of Law
Frank O. Bowman, III                           Capital Law School
Curators’ Distinguished Professor Emeritus
& Floyd R. Gibson Missouri Endowed             Alan Brownstein
Professor Emeritus                             Professor of Law Emeritus
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Deborah L. Brake                               Ryan Calo
Professor of Law                               Lane Powell and D. Wayne Gittinger
University of Pittsburgh School of Law         Professor of Law
                                               University of Washington School of Law




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Aaron H. Caplan                                  Zachary L. Catanzaro
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Law
                                                 Erwin Chemerinsky
Ann Carlson                                      Dean and Professor of Law
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Law                                              Law
UCLA School of Law
                                                 Alan K. Chen
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SMU Dedman School of Law                         Ronald K. Chen
                                                 University Professor and Distinguished
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Professor of Law Emeritus                        Rutgers University
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                                                 Margaret Chon
William M. Carter, Jr.                           Donald and Lynda Horowitz Endowed Chair
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University of Pittsburgh School of Law           Seattle University School of Law




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                                                Scott Cummings
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Thomas F. Cotter                                Professor of Law
Professor of Law                                University of North Dakota School of Law
University of Minnesota Law School




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Martha F. Davis                                Anthony Paul Farley
University Distinguished Professor             James Campbell Matthews Distinguished
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John C. Dehn
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                                               in Business Law
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                                               Dennis S. Karjala Professor of Law, Science
Lisa A. Dolak                                  and Technology
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Syracuse University College of Law
                                               Sharon Finegan
Michael C. Dorf                                Professor of Law
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Robin Effron                                   Professor of Philosophy
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University of Idaho College of Law

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Assistant Professor of Law
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Professor                                       University of Richmond
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Princeton University                            Charles Gardner Geyh
                                                Distinguished Professor and John F.
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Emeritus                                        Professor of Law
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Dearie Scholar                                   Information Law
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                                                 New York Law School
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                                                 DePaul University College of Law
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Betsy Grey                                       Wake Forest University
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Arizona State University College of Law          Rebecca Hamilton
                                                 Professor of Law
                                                 American University Washington College of
                                                 Law




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G.S. Hans                                      Laura A. Heymann
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SMU-Dedman School of Law                       Emeritus
                                               Cornell Law School
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                                               Albany Law School
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                                               Northeastern University School of Law
Helen Hershkoff
Herbert M. and Svetlana Wachtell Professor     Aziz Huq
of Constitutional Law and Civil Liberties      Frank and Bernice J. Greenberg Professor of
NYU School of Law                              Law
                                               University of Chicago Law School
Kathy Hessler
Assistant Dean of Animal Law and Clinical      Rebecca Ingber
Professor of Law                               Professor of Law
The George Washington University Law           Benjamin N. Cardozo School of Law
School
                                               Steven D. Jamar
Robert Heverly                                 Professor of Law, Emeritus
Associate Professor of Law                     Howard University School of Law
Albany Law School




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Dawn Johnsen                                   Neil Kinkopf
Walter W. Foskett Professor of Law             Professor of Law
Indiana University Maurer School of Law        Georgia State University College of Law

Eric E. Johnson                                Heidi D. Kitrosser
Earl Sneed Centennial Professor of Law         William W. Gurley Professor of Law
University of Oklahoma College of Law          Northwestern Pritzker School of Law

Sheri Johnson                                  Karl Klare
James and Mark Flanagan Professor of Law       George J. & Kathleen Waters Matthews
Cornell Law School                             Distinguished University Professor
                                               Northeastern University School of Law
Linda D. Jellum
Professor of Law                               Michael Klarman
University of Idaho College of Law             Charles Warren Professor of American
                                               Legal History
Jeffrey Kahn                                   Harvard Law School
University Distinguished Professor of Law
SMU Dedman School of Law                       Alexandra Klein
                                               Assistant Professor of Law
Johanna Kalb                                   Washington & Lee University School of
Dean and Professor of Law                      Law
University of San Francisco School of Law
                                               Harold Hongju Koh
Pamela S. Karlan                               Sterling Professor of International Law
Kenneth and Harle Montgomery Professor         Yale Law School
of Public Interest Law
Stanford Law School                            Susan P. Koniak
                                               Professor of Law, Emerita
Alexis Karteron                                Boston University School of Law
Professor of Clinical Law
NYU School of Law                              William S. Koski
                                               Eric & Nancy Wright Professor of Clinical
Ken Katkin                                     Education and Professor of Law
Professor of Law                               Stanford Law School
NKU Chase College of Law
                                               Harold J. Krent
Mark Kelman                                    Professor of Law
James C. Gaither Professor of Law and Vice     Chicago-Kent College of Law
Dean
Stanford Law School                            Margaret B. Kwoka
                                               Lawrence Herman Professor in Law
Amalia Kessler                                 The Ohio State University Moritz College of
Lewis Talbot and Nadine Hearn Shelton          Law
Professor of International Legal Studies
Stanford Law School



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Alexandra D. Lahav                             Gregg P. Leslie
Anthony W. and Lulu C. Wang Professor          Professor of Practice
Cornell Law School                             Arizona State University Sandra Day
                                               O’Connor College of Law
Amy Landers
Professor of Law                               John Leubsdorf
Drexel University Kline School of Law          Distinguished Professor
                                               Rutgers Law School
John Thomas Langford
Visiting Associate Clinical Professor of Law   Leslie Levin
Yale Law School                                Professor of Law
                                               University of Connecticut School of Law
Peter Larsen
Assistant Professor of Law                     David S. Levine
Mitchell Hamline School of Law                 Professor of Law
                                               Elon University School of Law
Michael Lawrence
Professor of Law                               Ariana Levinson
Michigan State University                      Frost, Brown, Todd Professor of Law
                                               University of Louisville
Robert P. Lawry
Emeritus Professor of Law                      Justin Levitt
Case Western Reserve University                Professor of Law
                                               LMU Loyola Law School
Thomas S. Leatherbury
Clinical Professor of Law and Director of      Yvette Joy Liebesman
the First Amendment Clinic                     Professor of Law
SMU Dedman School of Law                       Saint Louis University School of Law

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San Francisco
                                               Theo Liebmann
Mark A. Lemley                                 Clinical Professor of Law
William H. Neukom Professor                    Maurice A. Deane School of Law at Hofstra
Stanford Law School                            University

Arther S. Leonard                              Leah Litman
Professor of Law Emeritus                      Professor of Law
New York Law School                            University of Michigan Law School

Lisa G. Lerman                                 Stephen Loffredo
Professor of Law Emerita                       Professor of Law Emeritus
Catholic University of America Columbus        CUNY School of Law
School of Law



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David A. Logan                                  William Marshall
Dean and Professor of Law Emeritus              Kenan Professor of Law
Roger Williams University School of Law         University of North Carolina

David Luban                                     Jennifer Martin
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                                                Connie Mayer
Mary A. Lynch                                   Professor of Law
Kate Stoneman Chair in Law and                  Albany Law School
Democracy
Albany Law School                               Thomas Wm. Mayo
                                                Professor of Law
Gregory P. Magarian                             SMU Dedman School of Law
Thomas and Karole Green Professor of Law
Washington University in St. Louis              William McGeveran
                                                Dean & William S. Pattee Professor of Law
Carol Mallory                                   University of Minnesota School of Law
Teaching Professor
Northeastern University School of Law           Nicholas M. McLean
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Law
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                                               Rothgerber Chair in Constitutional Law
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